    Case 23-03023                 Doc 293-2 Filed 03/25/24 Entered 03/25/24 17:34:02                                               Desc
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